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  8                           UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
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 12   Colleen Eicher,                           Case No. 8:20-cv-01008-JLS (KESx)
 13                     Plaintiff,
 14         v.                                  ORDER DISMISSING CASE WITH
 15                                             PREJUDICE
      Key Bank, National Association and
 16   Experian Information Solutions, Inc.,

 17                     Defendants.

 18
 19         IT IS HEREBY ORDERED that pursuant to the Joint Stipulation of
 20   Dismissal with Prejudice (Doc. 36) filed by Plaintiff Colleen Eicher and Defendant
 21   Experian Information Solutions, Inc., this matter is dismissed with prejudice,
 22   pursuant to Federal Rule of Civil Procedure 41(a). Each party shall bear their costs
 23   and attorneys’ fees.
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 25
      DATED: November 22, 2021
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                                              ____________________________________
 27                                           HON. JOSEPHINE L. STATON
 28                                           UNITED STATES DISTRICT JUDGE
